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     Fill in this information to identify the case:

     Debtor 1 Hilery Marie Leatherman
     Debtor 2      Thomas Edward Leatherman, II
     (Spouse, if filing)

     United States Bankruptcy Court of Maryland
     Case number 24-15386




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                               Court claim no. (if known): 29
  Last four digits of any number you         4766                            Date of payment change:                    12/01/2024
  use to identify the debtor’s account:                                      Must be at least 21 days after date of
                                                                             this notice

                                                                             New total payment:                        $2,115.83
                                                                             Principal, interest, and escrow, if any

  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

           Current escrow payment: $ 605.54          New escrow payment:            $ 728.87



  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
            attached, explain why:

               Current interest rate:                            %                 New interest rate:                              %

               Current principal and interest payment: $ _________              New principal and interest payment: $ __


  Part 3: Other Payment Change
     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
           modification agreement. (Court approval may be required before the payment change can take effect.)

               Reason for change:


               Current mortgage payment: $                     New mortgage payment: $




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   Debtor1   Hilery Marie Leatherman                                 Case number (if known) 24-15386
             First Name           Middle Name       Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ M. Christine Maggard
       Signature
                                                                                     Date 11/08/2024



   Print: M. Christine Maggard (31067)
         First Name           Middle Name           Last Name                        Title Attorney



   Company Brock & Scott, PLLC

             Address 3825 Forrestgate Dr.
             Number                    Street


             Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                        Email MDBKR@brockandscott.com




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                                           CERTIFICATE OF SERVICE

I hereby certify that on the 8th day of November, 2024, I reviewed the Court’s CM/ECF system and it reports that an
electronic copy of the Notice Of Mortgage Payment Change will be served electronically by the Court’s CM/ECF system
on the following:

Timothy P. Branigan, Chapter 13 Trustee

David Erwin Cahn, Debtor’s Attorney

I hereby further certify that on the 8th day of November, 2024, a copy of the Notice Of Mortgage Payment Change was
also mailed first class mail, postage prepaid to:

Hilery Marie Leatherman
4487 Tulip Tree Lane
Middletown, MD 21769

Thomas Edward Leatherman, II
4487 Tulip Tree Lane
Middletown, MD 21769



                                                   /s/M. Christine Maggard
                                                   Andrew Spivack, MD Fed. Dist. No. 21497
                                                   Ryan Srnik, MD Fed. Dist. No. 30811
                                                   M. Christine Maggard, MD Fed. Dist. No. 31067
                                                   Attorney for Creditor
                                                   BROCK & SCOTT, PLLC
                                                   3825 Forrestgate Drive
                                                   Winston Salem, NC 27103
                                                   Telephone: (844) 856-6646
                                                   Facsimile: (704) 369-0760
                                                   E-Mail: MDBKR@brockandscott.com
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